            Case 1:10-cr-10288-MLW Document 178 Filed 02/02/12 Page 1 of 9



                             UNITED STATES DISTRICT COURT
                                        FOR THE
                              DISTRICT OF MASSACHUSETTS

                                                                     CRIMINAL #10-10288-MLW
                                  _________________________

                                        UNITED STATES

                                                 v.

                                    TIMOTHY MOYNIHAN
                                  _________________________

                     DEFENDANT’S SENTENCING MEMORANDUM
                                (WITH EXHIBITS)


                                        INTRODUCTION

       Following a jury trial, Timothy Moynihan was found guilty of conspiracy to distribute

cocaine base and four substantive counts of possession with intent to distribute cocaine and cocaine

base based upon his involvement in the sale of those drugs by his co-defendant, Curtis Hester, to a

buyer working for the government. The four transactions at issue, all occurring during January,

2010, totaled less than $2,500. It is now incumbent upon the Court to impose sentence upon Mr.

Moynihan based upon the jury’s verdict. Having presided over the trial, the Court undoubtedly has

a full understanding of the nature and circumstances of the offense conduct, which need not be

rehashed in detail herein. Nevertheless, some of the facts adduced at trial are discussed below where

relevant.

       Mr. Moynihan does not dispute the Probation Department’s calculation of the applicable

guideline range or that he is a career offender. Mr. Moynihan also does not dispute that the

applicable statute prescribes a mandatory minimum sentence of 10 years imprisonment due to his

prior drug conviction. Accordingly, the primary purpose of this memorandum and the accompanying
            Case 1:10-cr-10288-MLW Document 178 Filed 02/02/12 Page 2 of 9



exhibits is to provide a fuller picture of Timothy Moynihan in order to assist the Court in considering

the statutory sentencing factors and exercising its discretion to make a just sentencing decision.1/

I.     OFFENSE CONDUCT.

       Notwithstanding the relatively small quantity of drugs involved in the four transactions Mr.

Moynihan was convicted of and the other transaction characterized as “relevant conduct,” the

government’s version of the facts, as laid out in the draft PSR, attempts to paint him as a major drug

dealer by emphasizing the amount of cash that Mr. Moynihan had in his residence and his cash

purchase of a used automobile. True, Mr. Moynihan did purchase his car with cash. PSR ¶ 14, n.

3. However, as the attached documents demonstrate, Mr. Moynihan had a legitimate source of funds

for this purchase – a loan from his mother. See Affidavit of Alana Talarico, appended hereto as

Exhibit 1, ¶ 3.2/ Ms. Talarico’s affidavit is corroborated by records from her brokerage, RBC Wealth

Management, attached hereto as Exhibit 2, which show that she had access to significant funds and

made several large cash withdrawals in 2009, prior to her loan to her son. See Exhibit 2.

       As documented at trial, Mr. Moynihan’s car was totaled in an accident in March 2010.

According to the records from Commerce Insurance, Mr. Moynihan received $25,289.69 from an

insurance settlement. Exhibit 3. Mr. Moynihan’s own bank records show that as of April 2010, Mr.

Moynihan had $16,894.69 in his savings account after withdrawing $8,000 in cash. Exhibit 4.



       1/
                The defendant notes that as of the date of this filing (February 2, 2012), his counsel
have not received any sentencing memorandum from the government. Counsel have also not yet
received the final version of the Presentence Report [“PSR”]. Accordingly, the defendant reserves
the right (with leave of Court) to respond to same in a supplemental written submission or orally at
the sentencing hearing scheduled for February 16, 2012.
       2/
              The exhibits to this memorandum are being separately filed under seal pursuant to
Court order. Copies will be provided to the government and Probation.

                                                 -2-
            Case 1:10-cr-10288-MLW Document 178 Filed 02/02/12 Page 3 of 9



Clearly, any cash found in Mr. Moynihan’s residence following his arrest cannot simply be assumed

to be the proceeds of illegal drug transactions. Indeed, there is no proof supporting such a speculative

assumption.3/

       Accordingly, the Court should sentence Mr. Moynihan based upon what the evidence showed

and what the jury found – his participation in several small drug sales. Significantly, the charges in

this case were brought following a year-long investigation involving dozens of law enforcement

agents, wiretaps, and controlled buys. Surely, far more evidence would have been obtained against

Mr. Moynihan if he were a major drug supplier. It also makes no sense that a major drug supplier

would be personally delivering small amounts of drugs for street-level sales. All of these

circumstances belie the government’s effort to characterize Mr. Moynihan as something other than

what he was.

II.    BACKGROUND AND PERSONAL CHARACTERISTICS

       Timothy Moynihan, who is now 36 years-old, endured a particularly difficult and tumultuous

childhood and adolescence. As described in the pertinent records from the Massachusetts

Department of Children and Families [“DCF”], appended hereto as Exhibit 5, Timothy was born to

two drug-addicted parents, who subjected him to both physical and emotional abuse. His childhood

was filled with suffering and neglect. From infancy to the time he was 7, Timothy witnessed his

father seriously physically abusing his mother. It was at that time that Timothy began seeing a

psychologist.


       3/
                 The defendant has objected to the PSR’s discussion of drug sales that did not involve
him in any way. The defendant further objected to any reference to a gang investigation or gang
activity in his PSR. There is no evidence that Mr. Moynihan was involved in a gang, and references
to gang activity in his PSR, which is used by the Bureau of Prisons in determining his placement,
is patently unfair.

                                                  -3-
         Case 1:10-cr-10288-MLW Document 178 Filed 02/02/12 Page 4 of 9



       Timothy was hospitalized for a psychiatric evaluation when he was 10-years-old. He was

referred to Hampstead Hospital in New Hampshire because of problems he was experiencing at

home. The examining physician found Timothy to be an angry child, who had no way to express his

anger but through aggressive behavior. Timothy was also sensitive about his learning disabilities,

which prevented him from acting appropriately when facing conflict. The doctor determined that

Timothy had “extremely low self-esteem in part related to [his] perception of his intellectual

difficulties and undoubtedly related to relationship problems with his abusive, alcoholic biological

father.” Exhibit 5, p. 5. The examiner noted that Timothy would often overreact upon the slightest

provocation. Id., p. 6.

       At age 10, suffering from psychological trauma and severe learning disabilities, Timothy was

taken from his mother and placed in a series of foster homes. After living with his father for a short

period of time, Timothy asked DCF to put him back in foster care because his father failed to provide

him with adequate heat or food. Timothy’s father continued to physically and emotionally abuse

him. Exhibit 5, p. 23.

       Timothy was hospitalized for a second time at the age of 13. Though he demonstrated that

he was more capable at problem-solving, the examiner noted that his “emotional and behavioral

difficulties have also continued to a point where he has required another hospitalization.” Exhibit

5, p. 11. The examiner once again noted that “[i]ntellectual limitations of [Timothy’s] type,

complicated by his history of severe family difficulties, would almost certainly predispose him to

significant adjustment difficulties.” Id., p. 12. As before, Timothy demonstrated symptoms of

depression and a low self-image. Id., p. 14. The examiner found that it would be helpful to his

development if Timothy were to have a “secure and supportive environment in which he can learn


                                                 -4-
         Case 1:10-cr-10288-MLW Document 178 Filed 02/02/12 Page 5 of 9



to better identify his feelings, develop trust in others, and develop more adaptive coping strategies.”

Id., p. 14.

       After his hospitalization, Timothy participated in the Key Program, where he was monitored

by a case worker. When Timothy was 14, the case worker continued to note Timothy’s disciplinary

problems. Eventually, after dozens and dozens of foster placements, Timothy aged out of DCF at

18. As an adult, Mr. Moynihan has never had protracted mental health counseling, although he

recognizes that such treatment would likely be beneficial.

       It is clear that Timothy Moynihan is a drug addict who has been abusing drugs or alcohol

since the age of 12. In the past, he has received sporadic treatment for substance abuse issues. In

2001, Mr. Moynihan participated in a drug court program in New Hampshire. A couple of years

later, Mr. Moynihan was required to participate in a 28-day residential treatment program. More

recently, Mr. Moynihan sought out alcoholism treatment, but his arrest in this case prevented him

from completing the program.       Other than these short-term programs, Mr. Moynihan has not

received counseling or treatment for his longstanding substance abuse issues. Significantly, he has

never received substance abuse treatment with a corresponding mental health component.

       Mr. Moynihan has three children – Brianna, who is 14-years-old, Trinity, age 10, and Miya,

age 3. Until his incarceration, Timothy paid child support. See Records from the Department of

Revenue, appended hereto as Exhibit 6. The letters appended hereto as Exhibits 7-8, respectively,

describe the importance of Timothy Moynihan to his family, as well as his positive characteristics

as a person. In her letter to the Court, Brianna’s mother, Jacquelin Ambrose, stresses that though

she and Tim have had conflicts in the past, they have learned and grown as co-parents in recent

years. Ms. Ambrose describes how dedicated Mr. Moynihan has been as a father over the past


                                                 -5-
            Case 1:10-cr-10288-MLW Document 178 Filed 02/02/12 Page 6 of 9



several years, and how attentive he is to his daughter. She also describes the destructive impact of

his incarceration upon Brianna. Exhibit 7, appended hereto. The letter from Brianna eloquently

describes the impact of her father’s absence at this formative time in her life. Exhibit 8, appended

hereto. In addition to these letters, the jail tapes provided in discovery by the government

demonstrate that Timothy speaks regularly to Destiny Clevesy, the mother of his other two

daughters, as well as to Trinity and Miya, and that he wants to participate as much as possible in

parenting them.

III.   CRIMINAL HISTORY.

       Mr. Moynihan faces a mandatory minimum sentence of ten years imprisonment under 21

U.S.C. § 841(b)(1)(B)(iii) because the government chose to file an Information pursuant to 21 U.S.C.

§ 851. The triggering offense specified in the Information is a 2007 conviction from the Essex

County Superior Court in Massachusetts for Possession with Intent to Distribute a Class B

Substance.

       Mr. Moynihan has a substantial criminal record, and he is a career offender under U.S.S.G.

§4B.1.1.4/ However, Mr. Moynihan’s criminal record must properly be considered in light of his

history of trauma, the abuse and neglect he suffered as a child, and his long history of addiction to


       4/
               The Court should strike all references to weapons contained in paragraph 91 of the
PSR. This paragraph unfairly suggests some connection between the defendant and weapons found
during the search of a residence which he shared with two other individuals in 2003. In fact, on
information and belief, those weapons belonged to another resident, James Clark, and were found
in the bedroom occupied by him. Clark was subsequently charged in the Plaistow District Court
Court with changing marks on a firearm, a felony in the state of New Hampshire, on the same date.
See Exhibit 9. On December 14, 2003, Clark was indicted in the Rockingham Superior Court on the
same charges. Id. According to the Rockingham Superior Court, Clark was convicted and sentenced
on March 30, 2004, to 12 months in jail. The records from the Rockingham Superior Court are
forthcoming and will be provided to the Court upon receipt. That is the sole reference anywhere in
Mr. Moynihan’s criminal history to a firearm.

                                                -6-
         Case 1:10-cr-10288-MLW Document 178 Filed 02/02/12 Page 7 of 9



drugs and alcohol. Though none of this history constitutes an excuse for his criminal conduct, it may

help to explain how he got to where he is now. As the letters from his family demonstrate, Mr.

Moynihan has many good qualities, he is still young, and with proper counseling and supervision,

he may still become a responsible and productive member of the community.

IV.    PROPORTIONALITY.

       While the Court must, of course, treat every defendant as an individual for sentencing

purposes, it is in the interests of justice that unwarranted sentencing disparities be avoided and that

consistency inform the Court’s overall approach. Accordingly, the Court should take into account

the terms of the binding plea agreement in the case of his co-defendant, Curtis Hester, if the Court

sees fit to accept it. Hester’s binding agreement reflects the government’s view that a 92-month

sentence is appropriate for Hester’s role in the very same offenses for which Mr. Moynihan was

convicted. Mr. Moynihan, a career offender, presumably has a worse criminal record than Hester,

and Mr. Moynihan chose to go to trial while Hester ultimately did not. Nevertheless, where two

individuals stand convicted of precisely the same offenses, it would be difficult in most cases to

justify a dramatic difference in the sentences they receive. Such a justification is absent here.

V.     DISCUSSION AND RECOMMENDATION.

       Having sentenced hundreds of criminals offenders, this Court is well-aware of the relevant

statutory provisions, case law, and policy considerations. While judges are still required to take the

Sentencing Guidelines into account, they are now free to consider all the relevant circumstances and

treat each offender as an individual in fashioning a sentence which is sufficient, but not greater than

necessary, to fulfill its purposes. That task is particularly challenging in a case like this one where

there is a huge gap between the career offender guideline range and the statutory mandatory


                                                 -7-
         Case 1:10-cr-10288-MLW Document 178 Filed 02/02/12 Page 8 of 9



minimum sentence. The Court does have the benefit of having presided over the trial, as well as

substantial information about the defendant from other sources.

       While Timothy Moynihan has a substantial criminal record, he should not be treated as a lost

cause. He has endeavored to be a responsible parent, both emotionally and financially. With a

change in attitude, proper treatment, and close supervision by the Court, Mr. Moynihan can still turn

his life around. Mr. Moynihan has had mental health issues and a chronic drug and alcohol problem

since childhood. Though he received some substance abuse treatment in the past, it was brief and

never addressed his corresponding mental health issues. He is now more mature and more honest

about his condition. Mr. Moynihan will have the opportunity to get the treatment he needs while

incarcerated and on supervised release. Mr. Moynihan is now prepared to face his challenging

problems and seeks to avail himself of the intensive residential drug treatment program operated by

the Bureau of Prisons, along with any mental health services offered.

       Based upon all of the facts and circumstances, the defendant respectfully suggests that a

sentence of 120 months’ imprisonment, followed by an 8-year term of supervised release, is

appropriate. The defendant further requests that the Court:

       1.      Strike those portions of the Offense Conduct section of the PSR (¶¶ 28-30, 31-33),

               which do not pertain to Mr. Moynihan;

       2.      Strike those portions of the Offense Conduct section of the PSR (¶¶ 3-4, 9 n.2),

               which contain irrelevant references to a gang investigation or gang activity;

       3.      Strike all references to a firearm in the PSR (¶ 91);

       4.      Recommend that Mr. Moynihan be assigned to a facility as close to Massachusetts

               as possible;


                                                 -8-
          Case 1:10-cr-10288-MLW Document 178 Filed 02/02/12 Page 9 of 9



         5.       Recommend that the Bureau of Prisons screen Mr. Moynihan for participation in its

                  long-term Residential Drug Treatment Program, 28 C.F.R. §550.53, and assign him

                  to that program if he is eligible;

         6.       Based upon Mr. Moynihan’s indigency and impending lengthy incarceration, waive

                  imposition of a fine. U.S.S.G. §5E1.2(e); and

         7.       Recommend appropriate drug treatment and mental health counseling at the direction

                  of Probation as a condition of supervised release.


                                                               Respectfully submitted,
                                                               TIMOTHY MOYNIHAN
                                                               By his attorneys,

                                                               /s/ James L. Sultan
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                                          CERTIFICATE OF SERVICE

         I hereby certify that this document filed through the ECF system will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing (NEF) and to U.S. Probation Officer Tricia Marcy on
February 2, 2012.

                                                                        /s/ James L. Sultan
                                                                James L. Sultan




                                                         -9-
